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EXHIBIT Kk

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HP OfficeJet Fax Log Report for

Personal Printer/Fax/Copier Ven-A-Care
305 292 1739

Nov-24-97 04:34 PM

Identification Result Pages Type Date Time Duration Diagnostic
12155966987 OK 05 — Sent Nov-24 04:29P 00:04:52 002486030022
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VEN-A-CARE

{OFTHE FLORIDA KEYS, INC.

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KEY NEST. FLA ICSC
(KS) 22-1035
FAX: SOS) 292-1729

FAX TRANSMITTAL SHEET

"PERSONAL AND CONFIDENTIAL"

to. MWe. (ob Vs to

AT: Veet of Reel, A romans Decvtes
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FAXNO: ANS - S4G-6189
FROM: Pach

FAX NO: 305-292-1739

DATE: \| w\97 TIME:

RE: Tislreleton Varo Pricey

PAGES TO FOLLOW INCLUDING COVER SHEET. 5

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305-292-1635.

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JJ Balan, inc We're the Best!
PRODUCT PRICE LIST
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DiMULEN LT. PINK 1132662) ZOVIA 1/25 TABS 6x21 D1. 99
DEMULEN LT. PINK 11326628 ZOVIA 1/35 TABS 6x28 51.99
CEMULEN PINK 11326721 ZOVIA 3/50 TABS 6x21 51 99
LLEMULEN PINK 11326728 ZOVIA 1/50 TABS 6x28 51.99
VOSOL HC 13085456 ACETAGUL #** HC #® DRUPS 10cc 2.69
VOSOL 1308539B ACETASUL DROPS 15cc 1.59
ZUVIRAX 1238089B ACYCLUVIR ORAL SUSPENSION PINT $ 61 99
PROVENTIC 13396725 ALBUTEROi 0. 083% 3m) BARRE 25 ¢ & 69
PROVENTIL 13282125 ALBUTERUI. 0. 063% 3m) WARRICK 25 799
FROVENTIL 1.3244225 ALBUTEROL. 0. OG3% Bm1(DEY-LUTE) 25 = « 9 49
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IVENTIL 13244266 ALBUTERGL © 083%. 3nl (DF Y-L UTE) 60 c 22.99
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PEOQVENTIL 33327295 Albuterol Inh. Spray RefileWar 179m 4.99
VENTOLIN 13394595 Albuterol Inh. Spray Retil#Zen 179m 4.99
Vt NTOLIN $11943395 Albuterol Inh. Spray#h:t* Dey KIT 2% 4.99
VENTOLIN 2/98 13701095 ALDUTO ROL INH SPRAY?HKiT# 2/98 Kit | +t 2.79
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PROVENTIL 12282098 ALBUTEKUL SULFATE SYRUP WARRCK PINT 299
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AMP HOGEL 12029798 ALUMINUM HYDROXIDE G£i PINT 2 99
SYMMETREL RASBERRY 12234798 AMANTADINE SYRUP PINT 23.99
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SOMOPHYLL INE RASBERRY 12093678 AMINDEHYL EINE bG@UID Bor 6 99
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PAGE 32

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Di. (PSEUDO) #0450
DE COS HED SYRUP (PSEUBDG) #0450
DE COED. SYRUP (PSEUDO) #0450
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Case 1:01-cv-12257-PBS Document 6639-38 Filed 11/03/09 Page 6 of 7

4S OF 11/17/97 ON: 13/17/97

COLOR

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dd Balan, Inc.
PRODUCT PRICE

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K- PEs s/ATTAPULGITE SUSPENSION
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mak VISCOUS 2% (i TDOCAINE)
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We're the Best!

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PACKAGE SELLING SPECIAL
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